
VILLANTI, Judge.
Michael Phillips appeals the revocation of his probation and the sentence imposed upon revocation. We affirm the revocation of Phillips’ probation and the sentence imposed after the trial court granted Phillips’ motion to correct sentencing error filed pursuant to Florida Rule of Criminal Pro-*401eedure 3.800(b)(2). However, the written order of revocation incorrectly states that Phillips admitted to the violation of his probation. On remand, the trial court shall enter a corrected order of revocation reflecting that Phillips was found to have violated his probation after an evidentiary hearing.
Affirmed but remanded with directions.
DAVIS and CRENSHAW, JJ., Concur.
